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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Northern District
                                                   __________  District of
                                                                        of Georgia
                                                                           __________

TONI FRANKLIN, in her individual capacity                          )
as the natural mother of decedent and                              )
as representative of estate of minor decedent LE’DEN BOYKINS
and ANTHONY BOYKINS, in his individual
                                                                   )
capacity as natural father of decedent,                            )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No.
                                                                   )
 GEORGIA DEPARTMENT OF PUBLIC SAFETY and                           )
             DAVIS PETERSON                                        )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GEORGIA DEPARTMENT OF PUBLIC SAFETY
                                           959 United Ave SE
                                           Atlanta, GA 30316

                                           DAVID PETERSON
                                           959 United Ave SE
                                           Atlanta, GA 30316

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
